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VIA ELECTRONIC FILING

Patricia S. Dodszuweit, Clerk

US Court of Appeals for the Third Circuit
601 Market Street

Philadelphia, PA 19106

Re: Lutter v. JNESO
Docket No. 21-2205

Date Filed: 08/01/2022

Dear Ms. Dodszuweit:

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This Law Firm is counsel to Defendant-Appellee JNESO District Council 1, IUOE, AFL-
CIO (“JNESO”) in connection with the above-captioned appellate matter. We join in the letter
submitted by counsel to the State of New Jersey as pertains to why the Eighth Circuit’s decision

in Hoekman v. Educ. Minn, , 21-1366, 2022 U.S. App. LEXIS 20355 (8th Cir. Jul 25, 2022)

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should not be relied upon in the instant matter.
We also note that omitted from Appellant’s letter to the Court is the other portion of the

Eighth Circuit’s decision which renders Appellant’s claim untenable. The Eighth Circuit ruled

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that “[t]he unions [representing public employees] are private actors,” and their members “Joined
their unions and paid membennin dues [....] according to a private agreement.” Hoekman at *10-
*11. Because “the unions’ right to collect these dues [...] is not state authority,” but rather “the
private agreement between the unions and the employees,” the Eight Circuit determined that “it is

the terms of the employee’s union membership, not any state action, that create the employee’s

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obligation to pay and the union’s right fo collect” those dues. Id. Accordingly, because ‘‘[t]he
harm allegedly suffered” by the members in Hoekman was “attributable to private decisions and
policies, not to the exercise of any state-created right or privilege,” the plaintiffs could not show
that the unions “violated their constitutional rights” and affirmed the trial court’s grant of -
summary judgment to the unions. /d.

That same principle applies here as well. Ms. Lutter voluntarily joined JNESO and
voluntarily agreed to pay union dues. Ms, Lutter resigned her JNESO membership and demanded
that dues deductions be terminated. JNESO’s receipt of Ms. Lutter’s voluntarily-deducted dues
funds does not constitute a state action. Rather, it was the result of Ms. Lutter’s private decision
to enter into a private membership agreement with JNESO, a private organization. Absent any
state action on JNESO’s part, Ms. Lutter has no viable constitutional claim against JNESO, and
her Second Amended Complaint were properly dismissed with prejudice by the District Court
whose decision should be affirmed.

Respectfully submitted,
/S Seth Ptasiewicz

Seth Ptasiewicz.

SP:PS

Word Count: 339

Cc; Counsel of Records (via Electronic Case Filing)

